                  IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                             NO. 1:13-CV-00949


DAVID HARRIS; CHRISTINE
BOWSER; and SAMUEL LOVE,

       Plaintiffs,

       v.
                                                 PLAINTIFFS’ WITNESS LIST
PATRICK MCCRORY, in his capacity
as Governor of North Carolina;
NORTH CAROLINA STATE BOARD
OF ELECTIONS; and JOSHUA
HOWARD, in his capacity as Chairman
of the North Carolina State Board of
Elections,

       Defendants.


       Pursuant to Fed. R. Civ. Pro. 26(a)(3)(A)(i), Plaintiffs identify the following

witnesses that Plaintiffs intend to call at the trial scheduled to begin on October 13, 2015

in this action:

NAME                            CONTACT INFORMATION                        WILL/MAY
                                                                           CALL
Ansolabehere, Dr. Stephen       Harvard University                         Will call
                                1737 Cambridge Street
                                CGIS Knafel Building 410
                                Cambridge, MA 02138
                                (617) 496-0234

Blue, Daniel T. (Sen.)          North Carolina Senate                      Will call
                                16 W. Jones Street, Room 1129
                                Raleigh, NC 27601-2808
                                (919) 733-5752




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NAME                            CONTACT INFORMATION                        WILL/MAY
                                                                           CALL
Bowser, Christine               Plaintiff                                  May call
                                (Contact only via Plaintiffs’ counsel)

Butterfield, G.K. (Rep.)        United States House of Representatives Will call
                                2305 Rayburn House Office Building
                                Washington, DC 20515
                                (202) 225-3101

Harris, David                   Plaintiff                                  May call
                                (Contact only via Plaintiffs’ counsel)

Peterson, Dr. David W.          1942 Rock Rest Road                        Will call
                                Pittsboro, NC 27312
                                (919) 542-6937

Watt, Melvin L.                 Melvin L. Watt is currently the            Will call
                                Director of the Federal Housing
                                Finance Agency, the address and
                                telephone number of which are set
                                forth below:

                                Constitution Center
                                400 7th Street, SW
                                Washington, D.C. 20024
                                (202) 649-3800




      Plaintiffs reserve the right to call any witness identified by Defendants.




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       Respectfully submitted, this the 14th day of September, 2015.




PERKINS COIE LLP                               POYNER SPRUILL LLP


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                            CERTIFICATE OF SERVICE


        I hereby certify that on this date I served a copy of the foregoing PLAINTIFFS’
WITNESS LIST to be made by electronic filing with the Clerk of the Court using the
CM/ECF System, which will send a Notice of Electronic Filing to all parties with an e-
mail address of record, who have appeared and consent to electronic service in this
action.

      This the 14th day of September, 2015.

                                                /s/ Edwin M. Speas, Jr.
                                                Edwin M. Speas, Jr.




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